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DEBEVOISE & PLIMPTON LLP

Date March 22, 2011

Memorandum to Feinberg Rozen, LLP A )

From Michael B. Mukasey/4

Gulf Coast Claims Facility:
Supplemental Memorandum Regarding Feinberg Rozen, LLP’s Compensation

In August 2010, we were retained by Feinberg Rozen, LLP (the “Firm’) to review the
reasonableness of the Firm’s compensation for administering the $20 billion Gulf Coast
Claims Facility (the “GCCF” or “Facility’”). We assessed the Firm’s work in establishing the
GCCE and administering the initial emergency claims process, and concluded that a flat fee
of $850,000 per month was reasonable given the Firm’s unique qualifications, the
unprecedented size and scope of the GCCF project, and the consequential impact on the
Firm’s practice. In a memorandum dated October 8, 2010 (the “Initial Memorandum”) we
summarized the facts we relied on and explained our conclusions. Familiarity with the Initial
Memorandum is assumed for current purposes. Since the delivery of the Initial
Memorandum, the Firm’s work administering the GCCF has become in many ways more
challenging — the number of claims received has grown from 128,100 to 828,225 and
complex claims for permanent relief requiring assessment of financial statements and
projections of future harm have replaced relatively more straightforward emergency claims.

The Firm typically reevaluates its fee during long-running engagements to reflect

changes like this, and in the Initial Memorandum we recommended that the Firm and BP do

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Schofield, also a partner of Debevoise & Plimpton LLP, and of David W. Feder and John Nichols,
associates of Debevoise & Plimpton LLP.

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so periodically in this case. Accordingly, the Firm and BP now have agreed to a flat
monthly fee of $1,250,000 from January 15, 2011 through the end of the year. The Firm has
asked us to evaluate the reasonableness of this adjusted compensation. In view of our Initial
Memorandum and later developments, as discussed below, we conclude that the Firm’s
adjusted compensation is reasonable.

In the months after its retention in June 2010, the Firm assumed responsibility for the
claims process that had been established by BP after the oil spill. The Firm hired and trained
subcontractors, drafted an emergency claims protocol, processed claims for emergency relief,
and consulted with diverse stakeholders. This work demanded ongoing and intensive
attention from Firm members. As of November 23, 2010, the GCCF stopped accepting
emergency Claims. In its second and final phase, the Facility will resolve final claims, until it
ceases operations in August 2013. The Firm’s work on the Facility has engaged and
consumed nearly all of the Firm’s human resources, and the Firm and BP have agreed to
increase the Firm’s compensation to reflect its efforts. The Firm’s fee is a small percentage
of BP’s over-all cost of administering the entire claims facility, which includes the cost of
retaining an extensive network of subcontractors, including claims intake staff at the 35
separate claims offices, accountants, IT specialists and fraud detection analysts. This
operation, involving more than 3,000 employees, is directed as to policy and otherwise
administered and supervised by the Firm.

Several factors that supported the reasonableness of the Firm’s initial compensation
are unchanged. The Firm remains unrivalled in its experience, ability and reputation for

claims work and is uniquely qualified to administer the GCCF, the largest fund in American
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history. The GCCF continues to command intense public scrutiny, exposing the Firm to
reputational risks, and the Firm devotes considerable energies to reforming the claims
process to address legitimate concerns. The Firm will continue to receive a flat fee, which
we concluded was the most appropriate form of compensation, and the fee will not be paid
from the compensation fund. The fee will still cover significant overhead expenses of the
Firm necessitated by this engagement (e.g., additional support staff hired in part to help
administer the GCCF, additional office supplies and equipment purchased for the GCCF
project), in addition to salaries. Finally, the Firm’s increased compensation continues to be
in line with the few roughly analogous engagements that exist. Those factors that have
materially changed are discussed below.

The Time, Labor and Results Obtained by Counsel. The Firm’s members are almost

exclusively devoted to the GCCF project, and the Firm has responded by hiring additional
staff and reallocating most of its existing workforce. Today, eight of the Firm’s professionals
now spend all or most of their time on this matter, according to time records that we have
reviewed. Despite the increased staffing, the average hours worked by Firm members has
actually increased since the initial phase of the assignment. For example, one Firm
attorney’s average daily hours on this matter have risen from 6.4 to 7.9. Firm members’ days
regularly run to 12 hours or more. The Firm’s hard work (and the considerable efforts
expended by GCCF subcontractors working under the Firm’s supervision) has yielded
notable results: As of March 19, the GCCF has distributed more than $3.6 billion to
claimants, including over $2.5 billion to 168,958 claimants that have submitted claims for

emergency relief, and nearly $1 billion to 102,973 claimants that have submitted claims for
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final relief. The GCCF already has received the largest number of claims — 828,225 — ever
submitted to a private fund, and the Firm expects roughly 50,000 more. Unlike the pattern
encountered in other claims administrations, the rate of claims here has not slowed since the
Facility’s inception.

The Novelty and Difficulty of the Assignment. Statistics alone fail to capture the
difficulty of the assignment. Since the delivery of the Initial Memorandum, Firm members
have drafted the protocol for final claims in consultation with environmental experts, created
an appeals process, expended additional efforts obtaining public buy-in and worked with
claimants’ counsel to resolve large blocks of claims. The Firm — principally claims
administrator Camille Biros — oversees more than 3000 claims workers, from Gulf State
claims office staffers to data processing contractors to accountants. The day-to-day work of
administering the Facility requires Firm members to review complex claims for potentially
tens of millions of dollars. In particular, several Firm members dedicate all their time to
reviewing claims for sufficient documentation, while others also work directly — and
sometimes face-to-face — with claimants, their counsel and various interested parties to
resolve claims. Kenneth Feinberg is heavily involved in resolving claims with precedential
and other substantial significance, and he continues to speak with government officials in the
Gulf and in Washington and hold public forums with claimants and interest groups in the
affected states.

The Firm’s work on the GCCF has not become more routine for two principal
reasons. First, many claims for final payment lack sufficient documentation to assess

damage accurately. This problem plagued claims for emergency relief, too, but is more acute
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now; emergency claims compensated limited harms and were intended to be disbursed
quickly for interim relief, but final claims are intended to compensate all past and future
harm, and thus require additional documentation reflecting damages with greater certainty.
The Firm must dedicate significant resources to evaluating final claims and seeking
additional documentation where possible. Second, even documented claims are not easily
resolved. The vagaries of geography, the diversity of the Gulf economy and widely varying
levels and types of documentation all compel individual attention to many claims. Unlike the
practice in some other claims administrations, the Firm is not able to streamline processing
by reducing the harms claimed to a formula or placing them easily in recurring categories.
By at least one measure, the Firm’s exacting claims review has been successful: An appeals
board administered by the U.S. Coast Guard for the review of claims determinations under
the Oil Pollution Act has affirmed every one of the Firm’s 467 determinations challenged to
date.

The Preclusion of Other Employment Due to the Acceptance of the Project. The

Firm’s intense attention to the GCCF has affected its ability to attract new work as its other
projects wind down. Since accepting the assignment, the Firm has not been approached
about any mass tort claims administration and has forgone other engagements for which it
would typically be considered. The Firm’s work for existing clients is also significantly
reduced, Although the Firm cannot determine precisely how much of this decrease is due to
the GCCF assignment, it is reasonable to infer that the significant reductions in the Firm’s
non-GCCF work are due at least in part to widespread knowledge of the Facility’s demands

on the Firm among clients and potential clients.
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In sum, the Firm remains unique in its qualification for the assignment, and the
assignment remains unprecedented. The Firm’s fee remains roughly consistent with similar
engagements, and is a small fraction of the total cost of the extensive and complex program
the Firm implements and administers. Moreover, since we last considered the issue, the Firm
has expanded its staff working on the GCCF, and the staff are working longer hours,
apparently reducing the Firm’s other business. As the GCCF progresses in its second and
final phase, there is no sign that the demands of the assignment will abate soon. In light of
this and of the matters set forth in our Initial Memorandum, we have concluded that a flat fee

of $1,250,000 per month through 2011 is reasonable.
